Case 2:75-cv-04111-DDP Document 187 Filed 07/27/09 Page 1 of 4 Page ID #:1076




 1   MARK D. ROSENBAUM, SBN 59940
     mrosenbaum@aclu-sc.org
 2   PETER ELIASBERG, SBN 189110
 3   peliasberg@aclu-sc.org,
     MELINDA BIRD, SBN 102236
 4   mbird@aclu-sc.org
     ACLU FOUNDATION OF SOUTHERN
 5      CALIFORNIA
     1313 W. 8th Street
 6   Los Angeles, California 90017
 7   Telephone: (213) 977-9500, x219
     Facsimile: (213) 977-5297
 8
     MARGARET WINTER
 9   ACLU NATIONAL PRISON PROJECT
10   915 15th Street NW, 7th Floor
     Washington, D.C. 20005
11   Telephone: (202) 548-6605
     Facsimile: (202) 393-4931
12   E-mail: mwinter@npp-aclu.org
13   Attorneys for Plaintiffs
14
                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
     DENNIS RUTHERFORD, et al,           )   Case No. Civ. 75-04111-DDP
17
                                         )
18                          Plaintiffs,  )
                                         )   SUPPLEMENTAL DECLARATION
19
                                         )   OF MELINDA BIRD IN SUPPORT
20           vs.                         )   OF PLAINTIFFS’ REPLY RE:
                                         )   MOTION TO RE-OPEN
21
     LEROY BACA, as Sheriff of the       )   DISCOVERY
22   County of Los Angeles, MICHAEL )
     D. ANTONOVICH, YVONNE B. )              Honorable Dean Pregerson
23
     BURKE, DON KNABE, GLORIA )
24   MOLINA, ZEV YAROSLAVSKY, )              Date: August 3, 2009
     as Supervisors of the County of Los )   Time: 10:00 a.m.
25
     Angeles, et al.,                    )   Dept: 3
26                                       )
27                          Defendants. )
     ______________________________ )
28
Case 2:75-cv-04111-DDP Document 187 Filed 07/27/09 Page 2 of 4 Page ID #:1077




1                  SUPPLEMENTAL DECLARATION OF MELINDA BIRD
2           I, MELINDA BIRD, declare and affirm and would so testify from first hand
3    knowledge if called as a witness:
4           1.      I am Senior Counsel for the American Civil Liberties Union of Southern
5    California (ACLU), and am one of the counsel for plaintiffs in this case. Paul Beach
6    is the lead attorney representing Sheriff Lee Baca and the County Board of
7    Supervisors, who are the defendants in this matter. This declaration supplements the
8
     declaration that I signed on June 12, 2009 regarding discovery in this matter.
9
            2.      In paragraph 10 of my earlier declaration, I discussed my earlier efforts to
10
     initiate discovery in this matter and the response from Paul Beach, who represents the
11
     defendants in this matter. Mr. Beach’s position was that we were not entitled to post-
12
     judgment discovery and that we needed to obtain an order from Judge Pregerson
13
     authorizing discovery before he would respond to our requests for production. As I
14
     stated in my earlier declaration, we reached a settlement with defendants regarding the
15
     underlying issues so I did not pursue a motion to compel or a motion authorizing
16
     discovery at that time.
17
            3.      When I began preparing the present motion to re-open discovery, I
18
     concluded that there was no point in once again propounding discovery and then
19
     pursuing a motion to compel, which would have been assigned to the magistrate judge
20
     assigned to handle discovery matters. Given Mr. Beach’s earlier response, it seemed
21
     certain that he would again take the position that Judge Pregerson had to decide
22
     whether we were entitled to discovery at all, since the case was in a post-judgment
23
     posture. Rather than delay this matter and waste the magistrate’s time with a non-
24
25
     productive motion to compel, my co-counsel and I decided to do as Mr. Beach had

26   insisted and seek a more general order re-opening discovery which we filed on June

27   15, 2009.

28




     Supplemental Declaration of Melinda Bird   1
Case 2:75-cv-04111-DDP Document 187 Filed 07/27/09 Page 3 of 4 Page ID #:1078
Case 2:75-cv-04111-DDP Document 187 Filed 07/27/09 Page 4 of 4 Page ID #:1079
